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ANZALONE LAW OFFICES, LLC

By: Jamie Joseph Anzalone, Esquire
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KIERA LYNN CAPIE and : IN THE COURT OF COMMON PLEAS
LUKE CAPIE, her husband, :
OF LUZERNE COUNTY
Plaintiffs :
VS. : CIVIL ACTION--LAW
COURTNEY LOBAO and :
COWAN SYSTEMS, LLC, : JURY TRIAL DEMANDED
Defendant NO: 2021 04269

 

 

 

COMPLAINT

AND NOW come the Plaintiffs, Kiera Lynn Capie and Luke Capie, his wife, by
and through their counsel, the Anzalone Law Offices, and hereby submit their Complaint
against the Defendants, Courtney Lobao and Cowan Systems, LLC, and in support
thereof aver as follows:

1. The Plaintiffs, Kiera Lynn Capie and Luke Capie, his wife, are adult
individuals who currently reside at 1120 Pine Road, Hanover Township, Luzerne County,
Pennsylvania 18706.

fa The Defendant, Courtney Lobao, is an adult individual who, upon
information and belief, currently resides at 99 % Chesnut Street, Nashua, New Hampshire

03060.

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Bi. The Defendant, Cowan Systems, LLC, is full service transportation and
logistics company with its principal offices located at 4555 Hollins Ferry Road,
Baltimore, Maryland 21227-4610.

4, At all times material hereto, the Defendant, Courtney Lobao, was
operating his vehicle within the course and scope of his employment with the Defendant,
Cowan Systems, LLC,

5; At all times material hereto, the Defendant, Courtney Lobao, was the
operator of a Tractor Trailer with Maryland License No. 936F85, being then and there
owned by the Defendant, Cowan Systems, LLC.

6. At all times material hereto, the Plaintiff, Kiera Lynn Capie, was the
operator of a 2016 Nissan Murano with Pennsylvania license plate number KWC8578.

Fs On March 30, 2021 at approximately 8:21 a.m., Plaintiff, Kiera Lynn
Capie, was traveling on Oak Street in Pittston Township, Pennsylvania when she saw the
Defendant, Courtney Lobao, stop ahead of her resulting in the Plaintiff also coming to a
stop.

8. On the aforementioned date, the Defendant, Courtney Lobao, suddenly
and without warning began to reverse his tractor and trailer without getting out to look
behind him and struck the Plaintiffs’ vehicle.

9. The aforesaid accident was the result of the carelessness and negligence of
the Defendant, Courtney Lobao, and as a result, the Plaintiff, Kiera Lynn Capie, sustained
the following severe, serious, painful and permanent injuries, which include but are not
limited to the following:

a) L4-5 Disc Herniation;

b) Lumbar Radiculopathy
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c) Post-Concussion Syndrome
d) Headaches; and
e) Anxiety

10. Asaresult of the aforementioned injuries, the Plaintiff, Kiera Lynn Capie,
has obtained medical care and treatment from various medical care providers for which
recovery is sought to the extent that expenses for such treatment exceeds the Itmit
pursuant to the Pennsylvania Motor Vehicle Financial Responsibility Law.

11. As a result of the aforementioned injuries, the Plaintiff, Kiera Lynn Capie,
was rendered sick, sore, and disabled and sustained severe mental and physical pain and
great discomfort all of which required medical care and treatment and are alleged to be
permanent.

12. _ Asa further result of the aforementioned injuries, the Plaintiff, Kiera Lynn
Capie, suffered and continues to suffer great physical and mental pain, discomfort and
inconvenience, and has been informed, believes and therefore avers that her injuries are
of a continuing and permanent nature and that she will continue to suffer and require
additional medical care and treatment from time to time.

13. The Plaintiff, Kiera Lynn Capie, has been informed, believes, and
therefore avers that she may be obliged to spend various sums of money and incur
various expenses for treatment of the aforementioned injuries in the future, with said
expenses for these injuries and treatment exceeding the limits provided for under the
Pennsylvania Motor vehicle Financial Responsibility Law and for which the Plaintiff
seeks recovery from the Defendants.

14. Asa result of the subject matter collision and the injuries received in that

collision, the Plaintiff, Kiera Lynn Capie, has suffered and continues to suffer a loss of
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her earning capacity and power and this loss of income and/or impairment of earning
capacity and power exceeded the sums recoverable under the limitations of the
Pennsylvania Motor Vehicle Financial Responsibility Law for which a claim is hereby
made and said loss is alleged to be permanent.

15. Asa further result of the aforementioned injuries sustained in the accident,
the Plaintiff, Kiera Lynn Capie, has sustained and will continue to sustain a loss of
everyday pleasures and enjoyments of life for which a claim is hereby made.

WHEREFORE, the Plaintiffs, Kiera Lynn Capie and Luke Capie, her husband,
hereby demand judgment in their favor against the Defendants, Courtney Lobao and
Cowan Systems, LLC, in an amount in excess of the jurisdictional limit required for
compulsory arbitration therefore under the applicable Statutes of the Commonwealth of
Pennsylvania and the Local Rules of Court.

COUNT I - NEGLIGENCE
KIERA LYNN CAPIE AND LUKE CAPIE
COURTNEY LOBAO and COWAN SYSTEMS, LLC

16. The Plaintiff, Kiera Lynn Capie and Luke Capie, her husband, incorporate
by reference, paragraphs 1 through 15 as though the same were set forth fully at length
herein.

17. The careless and negligent conduct of the Defendant, Courtney Lobao,
Individually and as the agent, servant, workman and/or employee of the Defendant,
Cowan Systems, LLC, vicariously, which said negligence consisted of the following:

a) In then and there failing to become aware of his surroundings prior

to driving his truck in reverse and colliding with the Plaintiff's vehicle;
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b) In then and there failing to look in his rearview mirror or otherwise
view the vehicle behind him prior to backing into it;

re) In then and there failing to have his vehicle under proper control;

d) In then and there failing to stop his vehicle prior to colliding with
the Plaintiff's vehicle;

e) In then and there failing to have sufficient control over his vehicle
in order to avoid colliding with the Plaintiff's vehicle;

f) In then and there failing to give any warnings of an imminent
collision with the Plaintiff's vehicle;

g) In then and there failing to get out of his tractor to look tf the
roadway was clear prior to reversing his tractor and trailer; and

h) In then and there becoming distracted while operating his vehicle
in reverse so as to prevent him from seeing the Plaintiff’s vehicle behind his vehicle
before backing into the Plaintiff's vehicle

WHEREFORE, the Plaintiffs, Kiera Lynn Capie and Luke Capie, her husband,
hereby demand judgment in their favor against the Defendants, Courtney Lobao and
Cowan Systems, LLC, in an amount in excess of the jurisdictional limit required for
compulsory arbitration therefore under the applicable Statutes of the Commonwealth of
Pennsylvania and the Local Rules of Court.
COUNT IIT - NEGLIGENCE
KIERA LYNN CAPIE AND LUKE CAPIE

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COWAN SYSTEMS, LLC

 

18. The Plaintiffs Kiera Lynn Capie and Luke Capie, her husband

incorporates by reference the allegations contained in paragraphs 1| through 17, as though
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the same were set forth fully at length herein.

19. The carelessness and negligence of the Defendant, Cowan Systems, LLC,
consisted of the following in this matter:

a) In then and there failing to properly train the Defendant, Courtney Lobao,
for potential road hazards and conditions;

b) In then and there hiring as a driver, the Defendant, Courtney Lobao, when
they knew or should have known he was not qualified to safely operate said
vehicle;

c) Inthen and there engaging the services of the Defendant, Courtney Lobao,
as a driver, when they knew or should have known that he was not qualified to
safely operate the aforesaid vehicle;

d) In then and there failing to adequately train, supervise and instruct the
Defendant, Courtney Lobao, in a manner so as to properly and safely operate said
vehicle;

e) In then and there allowing the Defendant, Courtney Lobao, to remain in
their employ when they knew or should have known he was not qualified to safely
operate the aforesaid vehicle involved in this collision.

WHEREFORE, the Plaintiffs, Kiera Lynn Capie and Luke Capie, her husband,
hereby demand judgment in their favor against the Defendants, Courtney Lobao and
Cowan Systems, LLC, in an amount in excess of the jurisdictional limit required for
compulsory arbitration therefore under the applicable Statutes of the Commonwealth of

Pennsylvania and the Local Rules of Court.

COUNT II - CONSORTIUM
LUKE CAPIE
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Vv.
COURTNEY LOBAO and COWAN SYSTEMS, LLC

 

20. —‘ The Plaintiffs, Ktera Lynn Capie and Luke Capie, her husband, hereby
incorporate paragraphs | through 19 as though the same were set forth at length herein.

21. As a result of the injuries that his wife, Kiera Lynn Capie, sustained, Luke
Capie, was denied the care, comfort, society and companionship of his wife, and a claim
for consortium is hereby made.

WHEREFORE, the Plaintiffs, Kiera Lynn Capie and Luke Capie, her husband,
hereby demand judgment in their favor against the Defendant, Courtney Lobao and
Cowan Systems, LLC, in an amount in excess of the jurisdictional limit required for
compulsory arbitration therefore under the applicable Statutes of the Commonwealth of

Pennsylvania and the Local Rules of Court.

Respectfully submitted,
ANZALONE LAW OFFICES, LLC

JAMIE JOSEPH ANZALONE, ESQUIRE
KELLY M. CIRAVOLO, ESQUIRE

Attormeys for Plaintiffs
 

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CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential

information and documents.

Submitted by: Jamie Joseph Anzalone, Esquire

Signature: Qames Qeeapd Anzalene
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Name: mie Joseph Anzalone, Esquire

Attorney No, (if applicable); 202764

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VERIFICATION

We, KIERA LYNN CAPIE and LUKE CAPIE, Plaintiffs herein, certify that the
statements contained in the foregoing Complaint are true and correct and are made
subject to the penalties of 18 Pa. C.S.A. Section 4904, relating to unsworn falsification to
authorities.

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KIERA LYNN CAPIE

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LUKE CAPIE

 
